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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

FTX TRADING LTD., et al., 1                                    Case No. 22-11068 (KBO)

         Debtors.                                              (Jointly Administered)

                                                               Ref. Nos. 29196, 29387, 30064, 30158 & 30162


           ORDER AWARDING FINAL ALLOWANCE OF COMPENSATION
         FOR SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES OF
                 QUINN EMANUEL URQUHART & SULLIVAN, LLP

         Upon consideration of the Certification of Counsel and the final fee application [D.I.

29196] (the “Final Fee Application”) of Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn

Emanuel”), special counsel to the above-captioned debtors and debtors-in-possession

(collectively, the “Debtors”) in these chapter 11 cases (the “Chapter 11 Cases”), for final

allowance of compensation, including all holdbacks, and expenses for the period set forth in the

Final Fee Application, which was filed pursuant to the Order Establishing Procedures for

Interim Compensation and Reimbursement of Expenses of Professionals [D.I. 435] (the “Interim

Compensation Order”), the Order (I) Appointing Fee Examiner and (II) Establishing Procedures

for Consideration of Requested Fee Compensation and Reimbursement of Expenses [D.I. 834]

(the “Fee Examiner Order”), and the Findings of Fact, Conclusions of Law and Order

Confirming the Second Amended Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd.

and Its Debtor Affiliates [D.I. 26404] (the “Confirmation Order”); and Katherine Stadler, as the

Court-appointed fee examiner (the “Fee Examiner”), having reviewed the Final Fee Application


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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX.

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and prepared the Fee Examiner’s Summary Report on Final Fee Applications [D.I. 30064] (the

“Final Report”) consistent with the terms of the Fee Examiner Order; and the Court having

reviewed the Final Fee Application and the Final Report; and the Court finding that (a) the Court

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; (b) notice of the Final

Fee Application was adequate under the circumstances; and (c) all persons with standing have

been afforded the opportunity to be heard on the Final Fee Application; and upon the full record

of all proceedings in this case; and after due deliberation and sufficient good cause having been

shown therefor;

                  IT IS HEREBY ORDERED THAT:

                  1.    The Final Fee Application is GRANTED and APPROVED as set forth

herein.

                  2.    Quinn Emanuel is allowed, on a final basis, compensation for services

rendered from November 13, 2022 through and including October 8, 2024 (the “Compensation

Period”) and reimbursement for actual and necessary expenses incurred during the

Compensation Period in the amounts set forth on Exhibit 1 hereto, including any and all

holdbacks.

                  3.    To the extent not already paid pursuant to the Interim Compensation

Order, the FTX Recovery Trust is authorized and directed to pay Quinn Emanuel one-hundred

percent (100%) of the fees and one-hundred percent (100%) of the expenses listed on Exhibit 1

hereto that have not yet been paid in satisfaction of the allowed fees for services rendered and

expenses incurred during the Compensation Period.

                  4.    The FTX Recovery Trust is authorized and empowered to take such

actions as may be necessary and appropriate to implement the terms of this Order.



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               5.       This Court shall retain jurisdiction to hear and determine any and all

matters arising from or related to the implementation, interpretation, and/or enforcement of this

Order.




   Dated: April 17th, 2025                          KAREN B. OWENS
   Wilmington, Delaware                             UNITED STATES BANKRUPTCY JUDGE

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